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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No. 21-108 (PAM/TNL)

 UNITED STATES OF AMERICA,                   )
                                             )
                       Plaintiff,            )
                                             )   GOVERNMENT’S RESPONSE IN
                v.                           )   OPPOSITION TO DEFENSE MOTION
                                             )   TO EXCLUDE
 4. THOMAS KIERNAN LANE,                     )
                                             )
                       Defendant.            )
                                             )


         The United States of America, by and through its undersigned attorneys, requests

this Court deny Defendant Lane’s motion to exclude (ECF No. 205-06) for the reasons

below.

   A. Still images from video evidence

         Defendant Lane moves to exclude still images—from body-worn camera, a street

camera, and bystander cell-phone recordings—as cumulative and unfairly prejudicial

under Federal Rule of Evidence 403. ECF Nos. 205 at 1-2; 206 at 1 (Gov. Exs. 6, 8, 10,

13, 15, 22, 26, 29, 36-38).

         These still images merely capture what happens when “pause” is pressed on the

video evidence the defense has already agreed is admissible. Far from being a “needless”

presentation of “cumulative evidence,” Fed. R. Evid. 403, the use of certain key still

images—rather than repeatedly pulling up the underlying video evidence and navigating

back and forth to pause at a precise moment at issue—will streamline the trial. The still

images—photos of a frame of the admissible video—do not risk unfair prejudice and are
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necessary to call attention to particular actions of the officers or events that are crucial to

the government’s case. See 1 Fed. Evid. § 4:15 (3d ed.) (“When proof offered on a point

is different in character or persuasive impact from other proof, the former is not merely

cumulative of the latter.”). For example, Gov. Exhibit 6L, included below, is a still

image—taken from Lane’s body-worn camera—of Chauvin and Kueng continuing to

apply a wrist hold after Mr. Floyd lost a pulse. The still image will allow law enforcement

witnesses to explain to the jury how and why the wrist hold was inconsistent with policy

and training, and it will allow medical witnesses to explain how additional downward

pressure in this location further restricted Mr. Floyd’s ability to breathe. Still images of

admissible video are routinely admitted in trial and permit parties to quickly and efficiently

display exhibits to the jury.




          Gov. Exhibit 6L

       Accordingly, the government respectfully requests the Court deny Defendant

Lane’s motion to exclude the still images.




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   B. Side-by-side video evidence

      Next, Defendant Lane moves to exclude the side-by-side presentation of video

evidence—in particular, side-by-side body-worn camera and bystander cell-phone

recordings; surveillance video and bystander cell-phone recordings; and body-worn

camera with other body-worn camera—as cumulative and unfairly prejudicial under

Federal Rule of Evidence 403. ECF Nos. 205 at 1-2; 206 at 1 (Gov. Exs. 21, 23-25, 27-

28, 30-35). In particular, Lane argues that he “was not able to view the incident from all

of the cameras,” and he was not “able to hear all of what was said” captured on various

recordings. ECF No. 206 at 1.

      The government has already addressed the same argument made by Defendant

Kueng in its consolidated response motion in limine. See ECF No. 188 at 27-31. As

discussed further below, the side-by-side videos are both highly probative and a way to

present video evidence more efficiently. These side-by-side video exhibits, which the

government has provided to the Court, are merely two original videos synched up to the

same time, that play side-by-side, with the audio output from one video. These exhibits

show the same events from different camera perspectives, like any security system in a

home, bank, or business. Further, to assuage the defense’s previously raised concerns, the

government has removed from its exhibit list all exhibits that played a defendant’s body-

worn camera video paired with the video and audio from a bystander’s cell-phone

recording.

      The side-by-side exhibits will facilitate the jury’s understanding of the events at

issue while avoiding undue delay and the cumulative presentation of evidence. For


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example, Defendant Kueng checked Mr. Floyd’s pulse four times. Some pulse checks can

be seen only on Defendant Kueng’s body-worn camera; some only on Lane’s body-worn

camera. The side-by-side video of the two body-worn cameras eliminates the need to

repeatedly flip back and forth between the two videos. As another example, side-by-side

video of Defendant Thao’s body-worn camera and a bystander cell-phone recording will

orient the jury and avoid the need to repeatedly alternate between the two separate video

exhibits. In particular, the side-by-side video—as the below screenshot shows—will

allow the jury to understand both the perspective from Defendant Thao’s body-worn

camera and how Thao’s body and face were positioned at critical moments, such as the

below moment, when Thao asked Mr. Floyd, “What are you on?” and Mr. Floyd responded,

“I can’t breathe—please, the knee on my neck.”




      Gov. Ex. 28 (side-by-side Thao body-worn camera and bystander recording;
      the speaker symbol identifies the audio as Thao’s).




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       The side-by-side videos are highly probative of key elements of the offenses, and

this high probative value is not substantially outweighed by the danger of unfair prejudice.

“Evidence is not unfairly prejudicial simply because it harms the defendant’s case; it

becomes unfair only if it tends to suggest decision on an improper basis.” United States

v. Pruneda, 518 F.3d 597, 605 (8th Cir. 2008) (internal quotation marks omitted). The

mere playing of two videos at the same time is far from novel, has high probative value,

does not risk unfair prejudice, and will allow a significantly more efficient presentation of

evidence. See, e.g., United States v. Ruiz, 446 F.3d 762, 771 (8th Cir. 2006) (finding video

compilations from drug sting “more helpful to the jury by making it easier for them to see

the government’s evidence against each defendant individually”); United States v.

Logwood, 853 Fed. App’x 47, 48 (8th Cir. 2021) (affirming use of two sets of

“asynchronous” video recordings during drug conspiracy and distribution trial).

       Accordingly, the government respectfully requests the Court deny Defendant

Lane’s motion to exclude the side-by-side video exhibits.

   C. Dispatch and 911 calls

       Finally, Defendant Lane moves to exclude a recording of a call made from a

dispatcher to an MPD sergeant during the incident and two 911 calls made by bystanders

approximately 3 minutes after Mr. Floyd was loaded into the ambulance. ECF Nos. 205

at 1-2; 206 at 1 (Gov. Exs. 40-42). Defendant Lane argues that the 911 calls are hearsay

and “n[o]t emergency calls” because the police were on scene; he provides no legal basis

for excluding the dispatcher call. ECF No. 206 at 1.




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      The dispatcher and 911 calls are admissible under the present-sense-impression and

excited-utterance exceptions to the hearsay rule, as already addressed in the government’s

trial brief. ECF No. 180 at 22-24. That the defendant-officers were on scene does not

render the calls non-emergent; the calls were made to report the defendants’ actions. For

the reasons already set forth in the government’s trial brief, the government respectfully

requests the Court deny Defendant Lane’s motion to exclude the dispatcher and 911 calls.

                                    III. Conclusion

      WHEREFORE, the government respectfully requests the Court deny Defendant

Lane’s motion to exclude.



Dated: January 19, 2022                      Respectfully submitted,


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